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                            EXHIBIT A
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                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TENNESSEE


    FUSION ELITE ALL STARS, et al.,

                    Plaintiffs,
              v.
                                                              Civ. Action No. 2:20-cv-02600
    VARSITY BRANDS, LLC, et al.,

                    Defendants.




    JESSICA JONES, et al.,

                    Plaintiffs,
              v.
                                                              Civ. Action No. 2:20-cv-02892
    BAIN CAPITAL PRIVATE EQUITY, et al.

                    Defendants.



     DECLARATION OF MATTHEW S. MULQUEEN IN SUPPORT OF MOTION TO
         QUASH OR MODIFY SUBPOENA DIRECTED TO MARLENE COTA
                     AND FOR PROTECTIVE ORDER

         I, Matthew S. Mulqueen, declare as follows:

         1.        I am counsel to Varsity Spirit, LLC (“Varsity”), Varsity Brands, LLC, Varsity

  Brands Holding Co., Inc., Varsity Spirit Fashions & Supplies, LLC, Bain Capital, LP, and

  Charlesbank Capital Partners, LLC in the above-captioned actions and have been personally

  involved in the matters described below.

         2.        On December 16, 2021, I received a letter from Bryan Meredith of the Meredith

  Law Firm, stating that he represented Marlene Cota in connection with the subpoenas that

  Plaintiffs issued to Ms. Cota. A true and correct copy of that letter is attached as Exhibit 1. Mr.

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  Meredith disclosed that Ms. Cota had in her possession several categories of documents from the

  time of her employment with Varsity, including (1) agreements and other documents describing

  or referencing Ms. Cota’s employment compensation, and/or the terms and conditions of her

  employment with Varsity; (2) correspondence between Ms. Cota and Varsity employees and/or

  sponsors or other third parties pertaining to sponsorships, competitions, competitors, and other

  business dealings; (3) business development documents disseminated by Varsity to its employees

  and/or third parties including documents related to acquiring sponsorships and commissions for

  the acquisition of new sponsorships; and (4) Ms. Cota’s personal notes made during her

  employment with Varsity, some of which are loose leaf and many of which are contained in

  volumes of notebooks. See id.

         3.      Mr. Meredith’s letter acknowledged that the above categories included documents

  that were subject to Ms. Cota’s contractual confidentiality obligations to Varsity. See id.

         4.      Mr. Meredith offered Defendants’ counsel the opportunity to inspect the

  documents or to seek a protective order before document production. Varsity accepted the offer

  to inspect the documents and arranged to meet Mr. Meredith on December 20, 2021.

         5.      After Plaintiffs’ counsel learned of the planned meeting with Mr. Meredith,

  counsel objected and demanded to participate in the document inspection. Following Plaintiffs’

  objection, Mr. Meredith stated that he would postpone the inspection until a later date.

         6.      On December 21, 2021, Defendants sent a letter to Ms. Cota summarizing her

  contractual obligations to maintain confidentiality, her acknowledgements that the materials she

  possesses are Varsity’s exclusive property, and her promises to return to Varsity all material

  relating to Varsity upon her termination. The letter demanded a return of Varsity’s property to

  Varsity. A true and correct copy of this letter is attached as Exhibit 2.



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         7.      On December 23, 2021, I spoke to Mr. Meredith via telephone and informed him

  that Defendants would be filing a motion to quash and for protective order. Mr. Meredith stated

  that Ms. Cota had agreed to return the business material in her possession to Varsity after the

  court resolved Defendants’ motion.

         8.      As counsel for Varsity, I participated in lengthy negotiations over the proper scope

  of discovery in both the Fusion Elite and Jones cases. Combined, Plaintiffs’ counsel proposed

  over 50 document custodians for Varsity to search, including several former employees. Ms.

  Cota has never been a proposed, discussed, agreed, or ordered custodian in either case.

         9.      The parties in Fusion Elite had a dispute over Plaintiffs’ Requests for Production

  Nos. 92-103, which sought production of Varsity documents relating to sexual abuse and

  harassment concerning All Star cheerleaders. Varsity objected to those requests and refused to

  respond in light of, inter alia, Defendants’ motion to strike class allegations and allegations

  relating to sexual abuse from Plaintiffs’ complaint. As part of the parties’ agreed resolution of

  their discovery dispute on this issue, Plaintiffs agreed, on June 22, 2021, to withdraw their

  requests for production to Varsity on this topic pending the Court’s decision on the motion to

  strike. The parties further agreed that if the Court denied the motion to strike, the parties would

  meet and confer regarding the scope of these requests.

         10.     On February 9, 2021, Varsity produced an organizational chart with bates number

  VAR00009411. The organizational chart was dated January 1, 2017 and listed Marlene Cota as

  “VP Corporate Alliances.”

         11.     I declare under penalty of perjury that the foregoing is true and correct. Executed

  on December 27, 2021.

                                                        _____________________________
                                                        Matthew S. Mulqueen

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